                                          UNITED STATES BANKRUPTCY COURT 
                                             NORTHERN DISTRICT OF OHIO 
                                                  EASTERN DIVISION
    In re:            Orlando John Costanzo, Jr.                             )  Case No. 12‐17723 
                      Michele Yvonne Costanzo                                )  Chapter 13 Proceedings 
                            Debtors                                          )  Judge Jessica E. Price Smith 
                                                                              
                                                                              
                                   TRUSTEE’S NOTICE OF FINAL CURE PAYMENT 
                                                     
     LAUREN A. HELBLING, Chapter 13 Trustee files notice that the amount required to cure the default in 
 the below described claim has been paid in full. 
  
Claim Information 
       
   Creditor:  RBS Citizens, N.A.  
        Proof of Claim number on Bankruptcy Court’s registry:                             9 
        Last 4 digits of number used to identify Debtor’s account:                        5695 
Trustee Payment Information 
 
  Prepetition Mortgage Arrearage 
              Amount Stated in Proof of Claim:                      $0.00 
                     
              Amount Paid by Trustee:                               $0.00 
        Ongoing Mortgage Payments   
                X   Paid by the Trustee through the bankruptcy plan 
                        i. Total paid to date by the Trustee:  $56,897.10 
                        ii. Last mortgage payment was mailed by the Trustee on February 8, 2018 
                              in the amount of $902.70 for the payment due January 1, 2018    
                    Paid direct by the Debtor 
 
     
        Pursuant to Federal Bankruptcy Rule 3002.1(g), within 21 days of the service of this Notice, the creditor shall file and serve on 
    the  Debtor,  Debtor's  counsel  and  Trustee  a  statement  (1)  indicating  whether  it  agrees  that  the  Debtor  has  paid  in  full  the 
    amount required to cure the default on the claim, and (2) whether the Debtor is otherwise current on all payments consistent 
    with Section 1322(b)(5) of the Bankruptcy Code.  The statement shall itemize the required cure and/or post‐petition amounts, if 
    any, that the creditor contends remain unpaid as of the date of the statement. 
         
                                                                       /S/ Lauren A. Helbling 
                                                                       LAUREN A. HELBLING (#0038934) 
                                                                       Chapter 13 Trustee 
                                                                       200 Public Square, Suite 3860 
                                                                       Cleveland OH 44114‐2321 
                                                                       Phone (216) 621‐4268        Fax (216) 621‐4806 
                                                                       Ch13trustee@ch13cleve.com 



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                                              CERTIFICATE OF SERVICE 
 
I certify that on February 15, 2018, a true and correct copy of this Notice of Final Cure Payment was served: 
 
Via  the  Court's  Electronic  Case  Filing  System  on  these  entities  and  individuals  who  are  listed  on  the 
Court's Electronic Mail Notice List: 
 
          Daniel M. Solar, Esq., on behalf of Orlando John Costanzo Jr. & Michele Yvonne Costanzo, 
                   Debtors, at dsolar@dannlaw.com              
           
And by regular U.S. mail, postage prepaid, on: 
           
          Orlando John Costanzo, Jr. & Michele Yvonne Costanzo, Debtors, 23050 Esther Avenue,  
                   North Olmsted, OH 44070 
           
          RBS Citizens, N.A., 10561 Telegraph Road, Glen Allen, VA 23059 
           
 
 
                                                       /S/ Lauren A. Helbling 
                                                       LAUREN A. HELBLING (#0038934) 
                                                       Chapter 13 Trustee 
                                                       200 Public Square, Suite 3860 
                                                       Cleveland OH 44114‐2321 
                                                       Phone (216) 621‐4268            Fax (216) 621‐4806 
                                                       Ch13trustee@ch13cleve.com 
 
 
 
LAH/rlc 
02/15/18 
 
 
 




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